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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
                                  CIVIL MINUTES − GENERAL

CASE NO.: 2:21−cv−06913−VAP−PD                                   DATE: November 3, 2021

TITLE:          Eric Cleveland v. Glick Brothers Lumber Company, LLC et al

Present: The Honorable: VIRGINIA A. PHILLIPS, UNITED STATES DISTRICT JUDGE
                Christine Chung                                   Not Reported
                 Deputy Clerk                                    Court Reporter
ATTORNEYS PRESENT FOR PLAINTIFFS:               ATTORNEYS PRESENT FOR DEFENDANTS:

                  Not Present                                 Not Present

Proceedings:       ORDER TO SHOW CAUSE RE DISMISSAL FOR LACK OF
                      PROSECUTION (IN CHAMBERS)

    Plaintiff(s) is hereby ordered to show cause in writing by not later than November 10,
2021 why this action should not be dismissed for lack of prosecution.
    The Court will consider the filing of the following as an appropriate response to this
OSCause, on or before the above date:
           − Plaintiff's request for entry of default
           − Answer by the defendant(s) or responsive pleading
     In the event both documents are filed before the above date, the answer will take
precedence.
      In accordance with Rule 78 of the Federal Rules of Civil Procedure and Local Rule 7-15,
no oral argument on this Order to Show Cause will be heard unless ordered by the Court. The
Order will stand submitted upon the filing of the response to the Order to Show Cause. Failure
to respond to the Court's Order will result in the dismissal of the action.




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                                                                     Initials of Preparer cch

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